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     Attorneys for Plaintiff
11   Lauri Valjakka.
12

13                             IN THE UNITED STATES DISTRICT COURT
14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                        SAN FRANCISCO DIVISION
16

17

18    Lauri Valjakka                                         Case No.: 4:22-cv-01490-JST

19                                 Plaintiff,                PLAINTIFF’S ANSWER TO
          v.                                                 COUNTERCLAIM
20

21    Netflix, Inc.,

22                             Defendant.
23

24
               TO THE HONORABLE JUDGE OF SAID COURT:
25
               Plaintiff Lauri Valjakka (“Lauri” or “Plaintiff”), files this Answer to the Counterclaim filed
26

27   by Netflix, Inc. (“Netflix” or “Defendant”), and would respectfully show the Court as follows:

28                          PLAINTIFF LAURI VALJAKKA’S ANSWER AND


                                                         1

                  PLAINTIOFF’S ANSWER TO COUNTERCLAIMS – CASE NO. 3:21-CV-08534-SI
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 1               AFFIRMATIVE DEFENSES TO DEFENDANT'S COUNTERCLAIMS
 2

 3          In response to the Counterclaims [D.E. 75] asserted by Defendant Netflix, Inc.

 4   (“Netflix”), Plaintiff Lauri Valjakka (“Valjakka”) answers as follows:
 5
                                           GENERAL DENIAL
 6
            Pursuant to Fed. R. Civ. P. 8(b)(3), Valjakka denies all allegations in Defendant's
 7
     Counterclaims except those specifically admitted below.
 8

 9                                         COUNTERCLAIMS

10          The introductory paragraph of Netflix's Counterclaims avers legal conclusion to which
11
     no response is required To the extent a response is required, Valjakka denies the allegations of
12
     the introductory paragraph of Netflix's Counterclaims.
13
                                                 PARTIES 1
14

15          1.      Upon information and belief, Valjakka admits that Netflix, Inc. is a Delaware

16   corporation with a principal address of 100 Winchester Circle, Los Gatos, CA 95032.
17
            2.      For the purposes of this action, Valjakka admits the allegations of Paragraph 2.
18
                                      JURISDICTION AND VENUE
19
            3.      Valjakka admits that Netflix's Counterclaims purport to arise under the Patent
20

21   Laws of the United States, 35 U.S.C. § 1 et seq.; the Declaratory Judgment Act, 28 U.S.C. §

22   2201 et seq.; and that this Court has jurisdiction over the subject matter of Netflix's
23
     Counterclaims under 28 U.S.C. §§ 1331, 1338(a). Valjakka denies any remaining allegations of
24
     Paragraph 3.
25

26

27
     1    HEADINGS IN VALJAKKA'S ANSWER AND AFFIRMATIVE DEFENSES TO NETFLIX'S
28   COUNTERCLAIMS ARE USED SOLELY TO MIRROR THE HEADINGS IN NETFLIX'S PLEADING AND
     SHOULD NOT BE CONSTRUED AS AN ADMISSION OR DENIAL BY VALJAKKA ON ANY ISSUE.

                                                      2

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 1             4.       For the purposes of this action, Valjakka admits the allegations of Paragraph 4.
 2
               5.       For the purposes of this action, Valjakka admits the allegations of Paragraph 5.
 3
                                          FACTUAL BACKGROUND
 4
               6.       For the purposes of this action, Valjakka admits the allegations of Paragraph 6.
 5

 6             7.       For the purposes of this action, Valjakka admits the allegations of Paragraph 7.

 7             8.       For the purposes of this action, Valjakka admits the allegations of Paragraph 8.
 8
               9.       For the purposes of this action, Valjakka admits the allegations of Paragraph 9.
 9
               10.      Denied.
10
                                           FIRST COUNTERCLAIM
11

12                  Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,495,167

13             11.      Valjakka incorporates by reference its answers to the allegations of Paragraphs 1-
14
     10 as if fully set forth herein.
15
               12.      For the purposes of this action, Valjakka admits the allegations of Paragraph 12.
16
               13.      Paragraph 13 contains legal conclusions and allegations to which no answer is
17

18   required. To the extent an answer is required, the allegations are denied upon information and

19   belief.
20
               14.      Denied.
21
               15.      Admitted that this is an exceptional case such that an award to Valjakka of its
22
     attorneys' fees and costs pursuant to 35 U.S.C. § 285 is justified. Denied that Netflix is entitled
23

24   to an award of attorneys' fees and costs.

25                                       SECOND COUNTERCLAIM
26
                Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,726,102
27
               16.      Valjakka incorporates by reference its answers to the allegations of Paragraphs 1-
28



                                                         3

                     PLAINTIOFF’S ANSWER TO COUNTERCLAIMS – CASE NO. 3:21-CV-08534-SI
                 Case 4:22-cv-01490-JST Document 78 Filed 01/17/23 Page 4 of 7



 1   15 as if fully set forth herein.
 2
               17.      For the purposes of this action, Valjakka admits the allegations of Paragraph 17.
 3
               18.      Paragraph 18 contains legal conclusions and allegations to which no answer is
 4
     required. To the extent an answer is required, the allegations are denied upon information and
 5

 6   belief.

 7             19.      Denied.
 8
               20.      Admitted that this is an exceptional case such that an award to Valjakka of its
 9
     attorneys' fees and costs pursuant to 35 U.S.C. § 285 is justified. Denied that Netflix is entitled
10
     to an award of attorneys' fees and costs.
11

12                                        THIRD COUNTERCLAIM

13                     Declaratory Judgment of Invalidity of U.S. Patent No. 8,495,167
14
               21.      Valjakka incorporates by reference its answers to the allegations of Paragraphs 1-
15
     20 as if fully set forth herein.
16
               22.      For the purposes of this action, Valjakka admits the allegations of Paragraph 22.
17

18             23.      Paragraph 23 contains legal conclusions and allegations to which no answer is

19   required. To the extent an answer is required, the allegations are denied upon information and
20
     belief.
21
               24.       Denied.
22
               25.       Denied.
23

24             26.       Denied.

25             27.      Admitted that this is an exceptional case such that an award to Valjakka of its
26
     attorneys' fees and costs pursuant to 35 U.S.C. § 285 is justified. Denied that Netflix is entitled
27
     to an award of attorneys' fees and costs.
28



                                                         4

                     PLAINTIOFF’S ANSWER TO COUNTERCLAIMS – CASE NO. 3:21-CV-08534-SI
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 1                                       FOURTH COUNTERCLAIM
 2
                       Declaratory Judgment of Invalidity of U.S. Patent No. 10,726,102
 3
               28.      Valjakka incorporates by reference its answers to the allegations of Paragraphs 1-
 4
     27 as if fully set forth herein.
 5

 6             29.      For the purposes of this action, Valjakka admits the allegations of Paragraph 29.

 7             30.      Paragraph 30 contains legal conclusions and allegations to which no answer is
 8
     required. To the extent an answer is required, the allegations are denied upon information and
 9
     belief.
10
               31.       Denied.
11

12             32.      Denied.

13             33.       Denied.
14
               34.      Admitted that this is an exceptional case such that an award to Valjakka of its
15
     attorneys' fees and costs pursuant to 35 U.S.C. § 285 is justified. Denied that Netflix is entitled
16
     to an award of attorneys' fees and costs.
17

18                                          PRAYER FOR RELIEF

19             Valjakka denies that Netflix is entitled to judgment or any of the relief requested by the
20
     Counterclaims and prays for the following relief:
21
               1.       That Netflix takes nothing by reason of the counterclaims, and that the
22
     counterclaim action be dismissed with prejudice;
23

24             2.       That the Court enter judgment in favor of Valjakka and against Netflix, with

25   respect to all causes of action in the counterclaims;
26
               3.       That the Court award Valjakka his attorneys' fees and other costs reasonably
27
     incurred in the defense of the counterclaims; and
28



                                                         5

                     PLAINTIOFF’S ANSWER TO COUNTERCLAIMS – CASE NO. 3:21-CV-08534-SI
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 1          4.       That the Court order such further relief for Valjakka as the Court may deem just
 2
     and proper.
 3

 4
                                       AFFIRMATIVE DEFENSES
 5

 6          By characterizing these as “Affirmative Defenses,” as Netflix does in its answer,

 7   Valjakka is not taking on any burden of proof beyond that which the law applies to him. Thus,
 8
     without admitting or implying that Valjakka bears the burden of proof as to any of them,
 9
     Valjakka, on information and belief, asserts the following affirmative defenses:
10
                                     FIRST AFFIRMATIVE DEFENSE
11

12          35. Each cause of action set forth in Netflix's Counterclaims fails to state a claim upon

13   which relief can be granted. For example, Netflix’s counterclaims fail to explain how either the
14
     ‘167 or the ‘102 patent is invalid.
15
                                  SECOND AFFIRMATIVE DEFENSE
16
            36.      Netflix's counterclaims are barred, in whole or in part, by the equitable
17

18   defenses of estoppel, waiver, laches and/or unclean hands.

19                                 THIRD AFFIRMATIVE DEFENSE
20
            37.      Netflix has failed to make reasonable efforts to mitigate its damages, if any.
21
                                  FOURTH AFFIRMATIVE DEFENSE
22
                     38.    Netflix's claims are subject to a set off based upon Netflix's and/or other
23

24   parties' acts and wrongdoing.

25                                    DEMAND FOR JURY TRIAL
26
                     Valjakka respectfully demands a jury trial as to all issues raised in Netflix's
27
     counterclaims which are triable to a jury in this action.
28



                                                      6

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     Dated: January 17, 2023                Respectfully submitted,
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               PLAINTIOFF’S ANSWER TO COUNTERCLAIMS – CASE NO. 3:21-CV-08534-SI
